          Case: 21-1021 Document:
Case 2:19-cv-13588-NGE-DRG ECF No.17-1   Filed: 10/05/2021
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                                                     Filed 10/05/21                                 (1 of 2)




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                 Filed: October 05, 2021




Mr. David Daniel Burress
Seward Henderson
210 E. Third Street
Suite 212
Royal Oak, MI 48067

Mr. Javaar Tyrone Grayson-Bey
18992 Westbrook Street
Detroit, MI 48219

Mr. T. Joseph Seward
Seward Henderson
210 E. Third Street
Suite 212
Royal Oak, MI 48067

                     Re: Case No. 21-1021, Javaar Grayson-Bey v. Southfield Police Department, et al
                         Originating Case No. : 2:19-cv-13588

Dear Counsel and Mr. Grayson-Bey,

  The Court issued the enclosed Order today in this case.

                                                 Sincerely yours,

                                                 s/Ryan E. Orme
                                                 Case Manager
                                                 Direct Dial No. 513-564-7079

cc: Ms. Kinikia D. Essix

Enclosure

No mandate to issue
          Case: 21-1021 Document:
Case 2:19-cv-13588-NGE-DRG ECF No.17-2   Filed: 10/05/2021
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                                                     Filed 10/05/21                                   (2 of 2)




                                          Case No. 21-1021

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                              ORDER

JAVAAR TYRONE GRAYSON-BEY

               Plaintiff - Appellant

v.

SOUTHFIELD, MI POLICE DEPARTMENT; SWADE FOX; DAVID MOORE; MICHAEL
WOJCIECHOWSKI, Officers, Southfield, MI Police Department

               Defendants - Appellees



     Appellant having previously been advised that failure to satisfy certain specified

obligations would result in dismissal of the case for want of prosecution and it appearing that the

appellant has failed to satisfy the following obligation:

         The proper fee was not paid by October 1, 2021.

     It is therefore ORDERED that this cause be, and it hereby is, dismissed for want of

prosecution.

                                                   ENTERED PURSUANT TO RULE 45(a),
                                                   RULES OF THE SIXTH CIRCUIT
                                                   Deborah S. Hunt, Clerk


Issued: October 05, 2021
                                                   ___________________________________
